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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

CASE NO. 19-cr-86-REB-2

UNITED STATES OF AMERICA,

        Plaintiff,

v.


     2. BRAINARD CLARK,

        Defendant.


     Unopposed Motion for Order Allowing Mr. Clark to Return to the Colorado
        Department of Corrections Pending Resolution of 10-cr-0086-REB


        Peter Hedeen, of the Law Office of Peter Hedeen LLC, on behalf of the

Defendant, Brainard Clark, requests the Court enter an order allowing Mr. Clark to return

to the Colorado Department of Corrections Pending the resolution of the above-

captioned case and as grounds states the following:

        1.      An indictment in the above captioned case was filed with the Court on

November 21, 2019 charging Mr. Clark with five counts of burglary in violation of 18

U.S.C. § 2118 (b)(1) and 18 U.S.C. § 2.

        2.      Subsequent to these charges, on December 12, 2019, Mr. Clark was

sentenced in the 10th Judicial District, State of Colorado (El Paso County) court in

numerous cases. Resolution of these cases resulted in a sentence of 13 years in the

Colorado Department of Corrections. His place of incarceration was designated as the

Crowley County Correctional Facility, (hereinafter “CCCF”).

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       3.     Colorado’s sentencing scheme allows the granting of earned time—

deducting up to 10 days for each month of incarceration from an inmate’s sentence.

Colo. Rev. Stat. §17-22.5-405(1). The deduction is not automatically provided but only

allowed upon a showing, as certified by the inmate’s case manager, that he has made

consistent progress in the following categories, as defined by statute;

              a. Work and training, including attendance, promptness, performance,

              cooperation, care of materials, and safety;

              b. Group living, including housekeeping, personal hygiene, cooperation,

              social adjustment and double bunking;

              c. Participation in counseling sessions and involvement in self-help

              groups;

              d. Progress toward the goals and programs established by the Colorado

              diagnostic program;

              e. Non-applicable

              f. The offender has not harassed the victim either verbally or in writing;

              g. The inmate has made positive progress, in accordance with

              performance standards established by the department, in the literacy

              corrections program or the correctional education program established

              pursuant to article 32 of this title.

Colo.Rev.Stat. §17-22.5-405(1)(a-g).

       4.     On January 14, 2020, a Motion for Writ of Habeas Corpus Ad

Prosequendum was filed by A.U.S.A. Jason R. Dunn requesting Mr. Clark be brought

before a United States District Court Judge for an initial appearance and be held until

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final disposition of his case. (ECF #75). Magistrate Judge Crews signed the order on

January 14, 2020. (ECF #77)

       5.     An Arraignment Discovery and Detention Hearing was held on January

28, 2020. Defendant was arraigned, plead not guilty and a non-contested order of

detention entered.


       6.     Mr. Clark requests this Court amend the order entered by Magistrate

Judge Crews and allow for his return to CCCF pending the outcome in this federal

criminal prosecution. This request is pursuant to 18 U.S.C §3145 (b).


       7.     Despite the deference appropriately paid to the United States Marshall

Service when dealing with the transportation and detention of inmates, the failure to

allow Mr. Clark to return to the Colorado Department of Corrections has a significant

impact on his liberty interests. All of the above listed categories, considered when

deciding whether to grant earned time against his state sentence, are compromised

while away from the facility. The tension between Mr. Clark’s desire to effectively

address the federal criminal charges in a reasoned and deliberate fashion with the

loss of earned time, unnecessarily extending his period of confinement on the state

sentence, can be resolved by allowing him to return to CCCF. Particular attention will

be paid to the efficient resolution of Mr. Clark’s case so as not to require unproductive

settings necessitating travel arrangements.

       8.     A.U.S.A. St. Julien has been consulted regarding this request and has

no objection to it being granted.



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       WHEREFORE, it is requested that the order granting the government’s Writ of

Habeas Corpus Ad Prosequendum be amended to allow for Mr. Clark’s return to the

Colorado Department of Corrections when not required to attend hearings in the

Federal District Court.


       Dated this Friday, February 14, 2020.


                                         Respectfully submitted,



                                         __S/Peter Hedeen___
                                         Peter Hedeen
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                           CERTIFICATE OF MAILING

        I hereby certify that on Friday, February 14, 2020, I electronically filed the
foregoing with the Clerk of the Court using the court’s ECF system which will send
notification of such filing to all counsel of record and the following e-mail address:


Jason St. Julien, Assistant United States Attorney
jason.st.julien@usdoj.gov


And, I hereby certify that I have mailed or served the document or paper to the
following non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated
by the non-participant’s name:

Mr. Brainard Clark (via hand delivery)


                                   __S/Peter Hedeen___
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                                   Denver, CO 80238
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